
Per Curiam.
The learned surrogate has stated in the second branch of his opinion successively the grounds upon which the motion should be denied. There is no such proof of fraud as would justify the court in vacating this decree. The executor has been discharged, his letters have been revoked, and if there are uncollected assets, his successor is the proper party to reach them. There is no proof but that the moving party knew or might have known every fact before the decree of March 10, 1884, upon which she now bases this application.
The cases of Matter of Tilden (98 N. Y., 434) and Matter of Hawley (100 N. Y., 206) seem to hold that in the absence of established fraud a decree of this nature should not be opened.
Order appealed from affirmed, with costs and disbursements.
